 Case 20-00147      Doc 12    Filed 07/16/20 Entered 07/16/20 10:15:19       Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                 )
In re:                           )
                                 )
JOSHUA DAVIS,                    ) Chapter 7
                                 )
          Debtor.                ) Case No.: 20B-00032
                                 )
LAW OFFICES OF ARNOLD H. LANDIS, )
P.C.,                            )
                                 )
          Plaintiff,             )
                                 ) Adversary No. 20-AP-00147
                                 )
vs.
                                 )
                                 )
JOSHUA DAVIS,                    )
                                 )
          Defendant.             )

                                  NOTICE OF MOTION

To:   See Attached Service List

       PLEASE TAKE NOTICE that on August 6, 2020, at 10:30 a.m., I will appear
before the Honorable Judge Doyle, or any judge sitting in that judge’s place, and
present the motion of Plaintiff for extension of time to file amended adversary complaint,
a copy of which is attached.

       This motion will be presented and heard telephonically. No personal appearance
in court is necessary or permitted. To appear and be heard telephonically on the motion,
you must set up and use an account with Court Solutions, LLC. You can set up an
account at www.CourtSolutions.com or by calling Court Solutions at (917) 746-7476.

       If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a
Notice of Objection is timely filed, the motion will be called on the presentment date. If
no Notice of Objection is timely filed, the court may grant the motion in advance without
a hearing.

                                         Law Offices of Arnold H. Landis, P.C.


                                         By:    /s/ Arnold H. Landis             .
                                                Arnold H. Landis, its attorney
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                             CERTIFICATE OF SERVICE
      Arnold H. Landis, being duly sworn on oath, deposes and says that he served the
above and foregoing notice on the above-named parties pursuant to Section II (B)(4) of
the Administrative Procedures for the Case Management/Electronic Case Filing System
through the Court’s Electronic Notice for Registrants and/or via United States Mail,
postage prepaid on July 16, 2020.

                                        Law Offices of Arnold H. Landis, P.C.


                                        By:   /s/ Arnold H. Landis              .
                                              Arnold H. Landis, its attorney
Law Offices of Arnold H. Landis
77 W. Washington, Ste. 702
Chicago, Illinois 60602
(312) 236-6268
                                    SERVICE LIST


VIA ECF

David M Siegel
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, IL 60090
davidsiegelbk@gmail.com



VIA REGULAR MAIL

Joshua A. Davis
854 Ridge Ave
Apt. 1
Evanston, IL 60202
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
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In re:                           )
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JOSHUA DAVIS,                    ) Chapter 7
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          Debtor.                ) Case No.: 20B-00032
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LAW OFFICES OF ARNOLD H. LANDIS, )
P.C.,                            )
                                 )
          Plaintiff,             )
                                 ) Adversary No. 20-AP-00147
                                 )
vs.
                                 )
                                 )
JOSHUA DAVIS,                    )
                                 )
          Defendant.             )

       MOTION FOR EXTENSION OF TIME TO FILE AMENDED ADVERSARY
                             COMPLAINT

      Now comes Plaintiff, Law Offices of Arnold H. Landis, P.C., and for its motion for

extension of time to file its amended adversary complaint, states as follows:

      1.     Plaintiff’s amended adversary complaint is due July 16, 2020.

      2.     Mr. Landis, his associate and his secretary have been working in three

different locations since the Covid outbreak.

      3.     Also, Plaintiff is currently in the process of moving his law office due to the

Covid pandemic.

      4.     Furthermore, Mr. Landis needs to consult with Dick Adler about

Defendant’s communications with him.

      5.     Accordingly, Plaintiff requests an extension of time until August 6, 2020 to

file its amended adversary complaint.
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       Wherefore, Plaintiff respectfully request that this Honorable Court grant it an

extension of time until August 6, 2020 to file it amended adversary complaint and grant

such additional relief as may be just.



                                          Law Offices of Arnold H. Landis, P.C.


                                          By:    /s/ Arnold H. Landis             .
                                                 Arnold H. Landis, its attorney
Law Offices of Arnold H. Landis
77 W. Washington, Ste. 702
Chicago, Illinois 60602
(312) 236-6268
